                    Case 5:21-mj-00033-JLT Document 21 Filed 07/08/21 Page 1 of 2

 AO 98 (Rev. l2ll l- EDCA [Fresno]) Appearance Bond



                                      Uxrrpn Srarps Drsrrucr CoURT
                                                                       for the
                                                   Eastern District of California
 UNITED STATES OF AMERICA.
                                                                             )

                                  V                                          )
                                                                             )
                                                                                       CaseNo. 5:21-mj-00033-JLT
                                                                             )
OMAR VAYAS DURAN
                                                                             )
                              De.[endant


                                             APPEARANCE AND COMPLIANCE BOND

                                                            Defendant's Agreement
I, Omar Vayas Duran                                            defendant), agree to follow every order of this court, or any
court that .onsid".t this c'ot"3nd t furth"r ugree thut thir hnd may be forfeited if I fail:
            ( X ) to appear for court proceedings;
            ( X ) if convicted, to surrender to serve a sentence that the court may impose; or
            ( X ) to comply with all conditions set forth in the Order Setting Conditions of Release.

                                                                  Type of Bond
( f] ) (l) This is a personal recognizance bond.

( n ) (2) This is an unsecured bond of$                                                             , with net worth of: $

( X ) (3) This is a secured bond of $                 45,000.00                             , secured by:

        (n) (a) $                                        , in cash deposited with the court

        ( X ) (b) the agreement of the defendant and each surety to forfeit the following cash or other properry
                 (describe lhe cash or other propet't)', including cluims on it
                                                                                  - such as a Iien, nortgege, or loan - and attoch proof of
                 ov,nership and value):
                 Real property owned by Omar V ayas Duran


                 If this bond is secured by real property, documents to protect the secured interest may be filed of record.

        ( tr ) (c) a bail bond with a solvent surely (ouach a copv of the bait bond, or desnibe it anc! identifv rhe surety)i




                                                      Forfeiture or Release of the Bond

Forfeiture of the Bond. This appearance bond may be forfeited if the defendant does not comply with the above
agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court
may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs.
                   Case 5:21-mj-00033-JLT Document 21 Filed 07/08/21 Page 2 of 2
                                                                                                                                     Page 2


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Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and the
security will be released when either: ( l) the defendant is found not guilty on all charges, or (2) the defendant reports to
serve a sentence.


                                                          Declarations

(funership of the ProperQ/Net Worth. I, the defendant
                                                           - and each surety - declare under penalty of perjury that:
         (l )      all owners ofthe property securing this appearance bond are included on the bond;
         (2)       the property is not subject to claims, except as described above: and
         (3)       I will not reduce my net worth, sell any property, allow further claims to be made against any property,
                   or do anything to reduce the value while this Appearance and Compliance Bond is in effect.

Acceptance. I. the defendant - and each surefy - have read this appearance bond and have either read all the conditions
of release set by the court or had them explained to me. I agree to this Appearance and Compliance Bond.




I. the defendant - and each surety - declare under penalty of perjury that this information is true. (See 28 U.S.C.$ 1746.)


Date:1l-]tlZ" LI                                                                                                          Vlt\/1-'
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                suren,/'propertl, otyner - printed name                      Sureh,/propernt owner   - sigrrttture and dete


                                                                CLERK OF COURT


Date:   7/8/2021                                                  /s/ Susan Hall
                                                                                 Signamre of Clerk or Depuv Clerk


Approved

Date:        7/8/21
                                                                                         Judge's signature
